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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   PENGUIN RANDOM HOUSE LLC, et al.,

          Plaintiffs,

   v.                                                   Case No. 6:24-CV-01573-CEM-RMN

   BEN GIBSON, in his official capacity as
   Chair of the Florida State Board of
   Education, et al.,

         Defendants.
   ___________________________

                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          Section 1006.28 is an unprecedented assault on Florida school libraries that

   requires the removal of hundreds of books in violation of the First Amendment. 1 It

   prohibits librarians and other educators from curating school libraries based on

   educational objectives, community standards, their professional judgment and best

   practices, and the First Amendment, as they are trained to do and as they have done

   for decades prior to Section 1006.28. Moreover, there have long been procedures in

   place in Florida school districts to permit parents to regulate their own children’s

   access to library books. (See, e.g., Exs. A-5, A-6.) But under the guise of protecting

   students from obscene materials, the State has mandated the removal of a wide range




   1
    As used herein, the term “school libraries” encompasses both traditional school libraries or media
   centers and also classroom collections of books, which are essentially classroom libraries. As used
   herein, the term “books” refers to individual titles, not numbers of copies of books.



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   of literature that is not remotely obscene by proscribing two extremely broad and

   poorly defined categories of books. 2

             Section 1006.28 requires the removal of any book containing (1) any content

   that “describes sexual conduct” or (2) any so-called “pornographic” content (together,

   the “Challenged Provisions”). See Fla. Stat. s. 1006.28(2)(a)(2)(b)(I), (II). It prohibits

   media specialists, 3 other educators, and school districts from considering the value of

   the book as a whole; it requires the application of exactly the same standard concerning

   so-called “pornographic” content to books for high school seniors as it does to books

   for third graders or even younger students; and Florida law imposes harsh penalties

   on educators who do not comply.                   Examples of the books that school districts

   concluded must be removed under the Challenged Provisions include Kurt Vonnegut’s

   Slaughterhouse-Five, Richard Wright’s Native Son, Anthony Burgess’s A Clockwork

   Orange, Toni Morrison’s Beloved, and Alice Walker’s The Color Purple.                               (Ex. B,

   Declaration of David Karp (“Karp Decl.”), ¶ 8.) Because there are few, if any, obscene

   books in school libraries, the many unconstitutional applications of the Challenged

   Provisions substantially outweigh its constitutional applications. The Challenged

   Provisions are therefore unconstitutionally overbroad and violate the First

   Amendment.


   2
     The Supreme Court has defined obscenity as “limited to works” that (a) “taken as a whole, appeal
   to the prurient interest in sex”; (b) “portray sexual conduct in a patently offensive way”; and (c) “taken
   as a whole, do not have serious literary, artistic, political, or scientific value.” See Miller v. California,
   413 U.S. 15, 24 (1972).
   3
       The terms “media specialists” and “librarians” are used interchangeably herein.


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          Statutory mandates that require the removal of award-winning books without

   consideration of the book’s value as a whole serve no valid educational purpose.

   Instead, the Challenged Provisions require educators and their school districts either

   to restrict the selection of books available in school libraries in a way that interferes

   with the First Amendment rights of students, authors, and publishers or to face

   discipline for noncompliance, including monetary fines and loss of licensure. The

   Challenged Provisions harm students by undermining their right to receive

   information in school libraries. They also harm publishers and authors by requiring

   the removal of their books from school libraries based on constitutionally

   impermissible, overbroad content-based restrictions.

          Publishers and authors disseminate information and ideas of interest and value

   to students. Matching students to books is a subjective and inherently individual

   exercise. Not every book is for every person at every point in their life. For that

   reason, each student has the right to choose whether to read any particular book from

   a school library. And parents have the ability to choose which books their own

   children can access in a school library.       But the Challenged Provisions bar all

   consideration of context, prohibiting local school librarians from exercising their

   professional judgment and constricting, rather than empowering, parental choice.

   Neither the value of the book nor a student’s readiness and desire to read it count for

   anything. If the First Amendment has any force in public schools, the Challenged

   Provisions must be declared unconstitutional.



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                                   FACTUAL BACKGROUND

   I.     The Challenged Provisions Mandate The Removal Of Library Books
          Regardless Of Their Value.

          Section 1006.28’s prohibitions on content that “describes sexual conduct” and

   so-called “pornographic” conduct are across-the-board mandates that disregard the

   literary, artistic, scientific, or political value of each book as a whole, the interests and

   needs of the particular community served by the library, and the discretion and training

   of Florida educators, who have long been charged with selecting books to make

   available to their students. Plaintiffs do not seek to prevent Florida school districts

   from ensuring that school libraries do not contain obscene books. Instead, Plaintiffs

   take issue with the removal of books that are not remotely obscene.

          A.      The Prohibition On Content That “Describes Sexual Conduct.”

          Section 1006.28’s new prohibition on content that “describes sexual conduct”

   prohibits school library books with any description of any sexual conduct as defined by

   statute. Fla. Stat. s. 1006.28(2)(a)(2)(b)(II) (enacted in H.B. 1069). 4 Section 1006.28

   separately forbids material containing “sexual conduct” that is “harmful to minors,”

   which requires a finding that the book, “[t]aken as a whole, is without serious literary,

   artistic, political, or scientific value for minors” as required by the First Amendment.

   Id. s. 1006.28(2)(a)(2)(b)(I), 847.001(7), 847.012. In stark contrast, the new separate



   4
    That provision prohibits “[a]ny material . . . made available in a school or classroom library” that
   “(II) Depicts or describes sexual conduct as defined in s. 847.001(19), unless such material is for a
   course required by s. 1003.46 or s. 1003.42(2)(o)1.g. or 3., or identified by State Board of Education
   Rule.” Fla. Stat. s. 1006.28(2)(a)(2)(b)(II).


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   proscription on content that “describes sexual conduct” (id. s. 1006.28(2)(a)(2)(b)(II))

   precludes any consideration of the value of the book as a whole. Moreover, because

   the prohibition on content that “describes sexual conduct” does not define the word

   “describes” in relation to the term “sexual conduct,” it is unclear what level of detail

   is necessary for a book to implicate that provision. See id. For example, a book that

   contains the phrase “made love” may be sufficiently detailed to be a prohibited

   description of sexual conduct. (See, e.g., Ex. C, Declaration of Christina Hackey

   (“Hackey Decl.”), ¶ 17.)

          The law requires that all books to which a school district receives an objection

   for describing sexual conduct be removed for students of all ages within five days

   pending further review. In stark contrast, the statute does not require a prompt review

   to determine whether the book should be returned. While the statute implicitly

   permits—but does not require—schools to return previously removed library books

   that contain content that “describes sexual conduct” for “any grade level or age group

   for which such use” is not “inappropriate” or “unsuitable,” the statute does not define

   the terms “inappropriate” and “unsuitable” and ultimately provides no guidance to

   schools as to what the State of Florida might deem to be sufficiently appropriate or

   suitable. See Fla. Stat. s. 1006.28(2)(a)(2)(b). Nor does the statute provide any time

   period during which resolution of objections must take place. See id.

          B.     The Prohibition On So-Called “Pornographic” Content.

          Section 1006.28 also prohibits school library books that contain content that



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   “[i]s pornographic or prohibited under s. 847.012.” Fla. Stat. s. 1006.28(2)(a)(2)(b)(I). 5

   Section 847.012 concerns content that is “harmful to minors,” which is defined in

   conformance with the Supreme Court’s standard for obscenity set forth in Miller v.

   California, 413 U.S. 15 (1972), as applied to minors. Fla. Stat. s. 847.012, 847.001(7);

   Simmons v. State, 944 So.2d 317, 325 (Fla. 2006) (citing Miller and Ginsberg v. New York,

   390 U.S. 629 (1968)). In contrast, neither this statute nor any other Florida law defines

   the term “pornographic.” The State Defendants have thus construed “pornographic”

   to be distinct from—and to circumvent—the Miller obscenity standard and have

   imposed that erroneous construction on Florida school districts. Under Florida law,

   the State Defendants are responsible for promulgating a mandatory objection form for

   all school districts to use. Fla. Stat. s. 1006.28(2)(a)(2). 6 The objection form that the

   State Defendants promulgated includes separate categories for “pornographic”

   content and content that is “harmful to minors,” meaning that a book could contain

   content that is considered “pornographic” under the statute but that is not “harmful to

   minors” under Florida law, namely, obscene under Miller. 7 See Fla. Admin. Code r.

   6A-7.0714. The following chart illustrates the statutory categories in comparison to




   5
     That provision prohibits “[a]ny material . . . made available in a school or classroom library” that
   “(I) Is pornographic or prohibited under s. 847.012.” Fla. Stat. s. 1006.28(2)(a)(2)(b)(I).
   6
    The objection form is attached hereto as Exhibit N and incorporated in Florida Administrative Code
   Rule 6A-7.0714(3)(e). See also Fla. Admin. Code r. 6A-7.0714(5)(e)(1)–(3).
   7
     As explained in Section IV of the Argument, if the term “pornographic” were construed to be
   synonymous with “harmful to minors,” it would be consistent with the Miller test and therefore
   constitutional.


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   the categories used on the objection form.

    Categories in Statute                           Categories in Objection Form

    “(I) Is pornographic or prohibited “☐The material is pornographic.”
    under s. 847.012 [harmful to minors]”
                                              “☐The material is prohibited under
    “(II) Depicts or describes sexual conduct Section 847.012, F.S.”
    as defined in s. 847.001(19)”
                                                    “☐The material depicts or describes
                                                    sexual conduct as defined in Sec�on
                                                    847.001(19), F.S.”

   All Florida school districts must use the State Defendants’ objection form with no

   substantive modifications. Id. r. 6A-7.0714(d).

          Prior to the July 1, 2023 effective date of H.B. 1069, Florida schools were

   permitted to continue to use school library books that contained what the statute calls

   “pornographic” content so long as that use was not “inappropriate” or “unsuitable”

   for the particular grade level or age group. But H.B. 1069 removed that exception,

   meaning that the prohibition on so-called “pornographic” content now applies

   regardless of the age of the student. Under that prohibition, the State treats high school

   seniors the same as third graders or even younger students and prohibits all students

   regardless of age, maturity, or reading level from accessing certain books in their

   school libraries.

   II.    Under The Challenged Provisions, Florida Educators Must Choose Between
          The First Amendment Or Harsh Penalties.

          The Challenged Provisions of Section 1006.28 unleashed fear and chaos upon

   the Florida education community, which has struggled to determine what those


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   provisions require. The State enforces the Challenged Provisions against educators

   through a harsh system of penalties, including loss of teaching licenses, monetary fines,

   and probation. 8 Moreover, the State repeatedly urges Florida educators to “err on the

   side of caution”—by removing more rather than fewer books—when implementing

   the Challenged Provisions or else risk penalties for themselves and their school

   districts. (Ex. A-7.) The Governor has publicly stated that, in his view, educators who

   fail to remove enough books under the Challenged Provisions may face felony charges.

   (Exs. A-1, A-2.) Media specialists and other educators are further incentivized to

   remove library books under the Challenged Provisions by the stigma that the State has

   imposed on those books. Media specialists and other educators have been called

   “groomers” and “porn pushers” by emboldened proponents of the Challenged

   Provisions for merely doing their jobs. (Ex. 3, Hackey Decl., ¶ 19.)

             Because of the Challenged Provisions, school districts across the State have

   removed or identified for removal award-winning and classic books that have been in

   libraries for decades, including books that are commonly included on Advanced

   Placement exams. (See, e.g., Ex. B, Karp Decl., ¶ 8.) Rocky Hanna, Superintendent

   of Leon County School District, has stated that “[t]he last thing [he] want[s] to do is

   take a book off the shelf that could be academically beneficial and impactful for a

   child,” but that due to the Challenged Provisions, he “do[es] not want to be found in

   violation of the law and targeted by the [Department of Education] and the governor.”


   8
       See Fla. Stat. s. 1012.796(1)(a)–(f).


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   (Ex. A-3.) Orange County Public Schools has advised its media specialists that they

   are “tasked with protecting [their] colleagues, [themselves], and OCPS to ensure

   content being made available to students is in compliance with” the Challenged

   Provisions. (Ex A-4.) Districts erred on the side of removing books to avoid penalties.

   (See, e.g., Ex. C, Hackey Decl., ¶ 18.) The vague and overbroad Challenged Provisions

   have led to extensive First Amendment violations through the removal of protected

   literature. Attached as Exhibits B-1 through B-32 and B-36 are lists of books that

   Florida school districts, including Orange County Public Schools and the School

   District of Volusia County, determined must be removed pursuant to Section 1006.28

   since July 1, 2023.

   III.   The Challenged Provisions Are A Solution In Search Of A Problem.

          In an attempt to demonize targeted books, Florida elected officials have

   characterized the Challenged Provisions as protecting Florida students from sexually

   explicit materials. For example, the Governor stated that the Challenged Provisions

   were enacted to prevent efforts “to pollute and sexualize our children,” making clear

   his opposition to the content of the books targeted by the Challenged Provisions. (Ex.

   A-1.) By enacting and enforcing the Challenged Provisions and characterizing their

   purpose as purging “pollut[ion]” from school libraries, Florida lawmakers have

   stigmatized the many books that have been removed (and their authors), as well as the

   students who seek to read them.

          Florida media specialists are trained to understand the importance of exposing

   students to diverse authors, perspectives, and topics, and they look to professional

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 review journals and standards to help them to make those decisions. (Ex. C, Hackey

 Decl., ¶ 23.) When deciding which books to include in or exclude from their school

 libraries, teachers and librarians consider the particular populations who are likely to

 read the books, because no two families or communities in Florida are identical. (Id.

 ¶ 27–28.) This focus on community standards results in a compilation of school library

 books that reflect the values and needs of that school’s community. (See, e.g., id.) In

 contrast, across-the-board overbroad mandates like the Challenged Provisions—which

 forbid consideration of the values and needs of students, families, or communities—

 prohibit librarians from applying “professional judgment and experience to select

 books on sensitive subjects for students at a variety of ages.” (Id. ¶ 25.) In this way,

 the Challenged Provisions “limit[] many parents’ rights.” (Id. ¶ 21.)

        Student choice is particularly important given the focus in schools on

 “foster[ing] the love of reading.” (See, e.g., id. ¶ 11.) Students develop fluency and

 confidence in reading skills when they are permitted to choose books in which they

 are particularly interested, with the opportunity to discuss those books with peers and

 adults. (Id. ¶ 22.) For many students, the school library is the only means of doing so.

 (Id. ¶ 24.) The Challenged Provisions prevent educators from fostering this love of

 learning and reading, especially as to students who have or might have created a

 connection with a particular book that the Challenged Provisions require to be

 removed. (Id. ¶ 25.) The Challenged Provisions also damage students’ trust that their

 educators actually desire and are able to help students to grow as readers. (Id. ¶ 31.)

 Moreover, some of the books that the Challenged Provisions prohibit can actually save

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 lives—in particular, books concerning sexual assault or abusive sexual experiences

 permit students to process similar experiences in their own lives or learn about

 potentially life-altering experiences through the lives of others, all in a safe

 environment. (Id. ¶ 24.) The Challenged Provisions are therefore not only harmful

 but contrary to the purpose and professional training of librarians and other educators.

        Parents of children in Florida schools have long had the power to determine

 which books their children can and cannot access in their school libraries. Certain

 school districts, like Pinellas County Schools, permit parents to limit their children’s

 access to the entire school library, requiring children to seek their parents’ permission

 prior to checking out any library books. (See, e.g., Ex. A-5.) Other districts, such as

 Polk County Public Schools, permit parents to decide each semester which particular

 books in the school library their children may check out and which they may not. (See,

 e.g., Ex. A-6.) These parental rights are the norm and help Florida parents to ensure

 that their own children are exposed only to school library books that those parents

 deem appropriate for their own children. Moreover, Florida’s existing prohibition on

 school library books containing content that is “harmful to minors” ensures that books

 that are obscene for minors do not exist in Florida school libraries. Fla. Stat. s.

 1006.28(2)(a)(2)(b)(I), 847.001(7), 847.012.

 IV.    Plaintiffs Have Suffered Or Will Suffer Harm At The Hands Of Defendants
        Due To The Challenged Provisions.

        A.     Publisher and Author Plaintiffs.

        Plaintiffs Penguin Random House (“PRH”); Hachette Book Group


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 (“Hachette”);     HarperCollins       Publishers     LLC      (“HarperCollins”);       Macmillan

 Publishing Group, LLC (“Macmillan”); and Simon & Schuster, LLC (“S&S”)

 (collectively the “Publisher Plaintiffs”) are the five largest trade publishers in the world.

 (Ex. A, Declaration of Skip Dye (“Dye Decl.”), ¶ 9.) Many books published by the

 Publisher Plaintiffs have been removed or identified for removal from school libraries

 in Florida (including in Volusia and Orange County schools) under the Challenged

 Provisions, which limit the audience for the Publisher Plaintiffs’ books.9 (Id. ¶¶ 9, 11.)

        Plaintiff The Authors Guild (the “Guild”) is the nation’s oldest and largest

 professional organization for published writers. (Ex. D, Declaration of Mary E.

 Rasenberger (“Rasenberger Decl.”), ¶ 3.) It serves as a collective voice of American

 authors. (Id.) Many books written by the Guild’s members, including Plaintiffs John

 Green, Jodi Picoult, and Angie Thomas, have been removed or identified for removal

 from Florida school libraries under the Challenged Provisions. (Id.) Plaintiffs Julia

 Alvarez, John Green, Laurie Halse Anderson, Jodi Picoult, and Angie Thomas

 (collectively with the Guild, the “Author Plaintiffs”) are authors of critically acclaimed

 novels aimed at young people that have been removed or identified for removal from

 school libraries in Florida under the Challenged Provisions. (Ex. A, Dye Decl., ¶ 11;

 Ex. E, Declaration of Julia Alvarez (“Alvarez Decl.”), ¶¶ 1–2; Ex. F, Declaration of



 9
  These books include How The García Girls Lost Their Accents, written by Julia Alvarez and published
 by Hachette; Nineteen Minutes, My Sister’s Keeper, and Change of Heart, written by Jodi Picoult and
 published by S&S; Looking for Alaska, written by John Green and published by PRH; The Hate U Give,
 written by Angie Thomas and published by HarperCollins; and Shout, written by Laurie Halse
 Anderson and published by Macmillan.


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 John Green (“Green Decl.”), ¶ 1; Ex. G, Declaration of Laurie Halse Anderson

 (“Anderson Decl.”), ¶¶ 1–2; Ex. H, Declaration of Jodi Picoult (“Picoult Decl.”), ¶¶ 1–

 2; Ex. I, Declaration of Angie Thomas (“Thomas Decl.”), ¶¶ 1–2.) Their books “make

 young adults feel seen.” (Ex. H, Picoult Decl., ¶ 5.)

        B.     Parent and Student Plaintiffs.

        Plaintiff Heidi Kellogg is the parent of minor student R.K., a senior in high

 school in the School District of Volusia County (“Volusia”). (Ex. J, Declaration of

 Heidi Kellogg (“Kellogg Decl.”), ¶ 1.) Plaintiff Judith Anne Hayes is the parent of

 minor student J.H., a junior in high school in Orange County Public Schools (“Orange

 County”). (Ex. K, Declaration of Judith Anne Hayes (“Hayes Decl.”), ¶ 1.) Because

 of the Challenged Provisions, R.K. and J.H. have been unable to find particular books

 that they intended to read in their school libraries and have been unable to discuss in

 school the books that their districts have targeted for removal under Section 1006.28

 without risking stigma and judgment from their teachers and fellow students. (Ex. L,

 Declaration of R.K. (“R.K. Decl.”), ¶¶ 4, 8–9; Ex. M, Declaration of J.H. (“J.H.

 Decl.”), ¶¶ 5, 9–10.)

        C.     The State Defendants.

        The State Defendants play a foundational role in implementing and enforcing

 the Challenged Provisions.     Section 1006.28(2)(a)(2) requires that district school

 boards provide objection forms for parents and residents to object to library books

 based on the Challenged Provisions (and other grounds). The State Defendants are

 responsible for prescribing the objection form that every school district must use. Id.

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 The objection form that the State Defendants prescribed requires the objector to

 identify the bases for their objection and lists multiple separate bases for objections for

 the objector to select, including that the library book (a) is “pornographic,” (b) is

 “prohibited under s. 847.012, F.S.” as harmful to minors, or (c) “depicts or describes

 sexual conduct as defined in s. 847.001(19), F.S.” 10               The State Defendants are

 responsible for enforcing school districts’ compliance with state law and State Board

 rules, including the Challenged Provisions. Fla. Stat. s. 1001.03(8), 1008.32(1). The

 State Defendants similarly have authority to take action to punish school districts’

 noncompliance. Id. s. 1008.32(2)–(4).

           The State Defendants have mandated that school districts use their objection

 form and that the part of the form that lists the bases for objections “not be modified.”

 Fla. Admin. Code r. 6A-7.0714(3)(a), (c), (d). Despite the fact that Section 1006.28

 includes content that is “pornographic or prohibited under s. 847.012” in the same

 category of prohibited content—therefore demonstrating that “pornographic” is

 intended to be a synonym for content that is “prohibited under s. 847.012”—the State

 Defendants’ form separates the two terms into different bases for objections. Id. r. 6A-

 7.0714(3)(e).        The effect of the State Defendants’ construction of the term

 “pornographic” is to go far beyond prohibiting books that are obscene as to minors;

 instead, it requires the removal of even highly regarded books, by Nobel prize winning

 authors, without any evaluation or consideration of the book’s literary, artistic,


 10
      Fla. Admin. Code r 6A-7.0714(3)(e), 6A-7.0714(5)(e)(1)–(3).


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 political, or scientific value, and contrary to determinations made by school librarians.

        District school boards must remove library books that a parent or resident

 identifies on the State Defendants’ objection form as prohibited under the Challenged

 Provisions. Fla. Stat. s. 1006.28(2)(a)(2)(b). Decisions regarding objections to library

 books under the Challenged Provisions are ultimately subject to review by the State

 Defendants. Id. s. 1006.28(2)(a)(6). Specifically, a district school board’s decision not

 to remove a challenged book is subject to review by a special magistrate who is

 appointed by the Commissioner of Education, and the State Board “must approve or

 reject the recommended decision” by the special magistrate.          Id. Yet a parent,

 librarian, author, or publisher who objects to the removal of any given title has no

 recourse to challenge the removal.

        D.     The School District Defendants.

        Plaintiffs also bring claims against the members of the Orange County School

 Board (the “Orange County Defendants”), which is the governing body of Orange

 County Public Schools (“Orange County”), and the members of the Volusia County

 School Board (the “Volusia Defendants”), which is the governing body of the School

 District of Volusia County.      The Orange County Defendants and the Volusia

 Defendants (sued only in their official capacity) are collectively referred to as the

 “School District Defendants.” Florida law and the State Defendants mandate that

 district school boards, including the School District Defendants, remove school library

 books that are prohibited under Section 1006.28’s prohibitions on content that

 “describes sexual conduct” or so-called “pornographic” content. See, e.g., Fla. Stat. s.

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 1006.28(2)(a)(1)–(2), (d)(2)(d). Pursuant to the State’s mandate, the School District

 Defendants have removed hundreds of books that are not remotely obscene from their

 school libraries. (Exs. B-22, B-31, B-36.)

                                  LEGAL STANDARD

        Courts grant summary judgment under Federal Rule of Civil Procedure 56(c)

 where there is “no genuine issue as to any material fact and [] the moving party is

 entitled to a judgment as a matter of law.” A genuine issue of material fact precluding

 summary judgment exists only if the nonmoving party presents evidence sufficient for

 a factfinder to return a verdict for that party. Stewart v. Happy Herman’s Cheshire Bridge,

 Inc., 117 F.3d 1278, 1284–85 (11th Cir. 1997).

                                      ARGUMENT

        The Court should declare that the Challenged Provisions are unconstitutionally

 overbroad under the First Amendment because their unconstitutional applications

 substantially outweigh their few, if any, constitutional applications. See Moody v.

 NetChoice, LLC, 144 S. Ct. 2383, 2397 (2024) (citing Americans for Prosperity Foundation

 v. Bonta, 594 U.S. 595, 615 (2021) (finding provision facially unconstitutional)). First,

 Plaintiffs have standing to bring their claims because the Challenged Provisions have

 resulted in the removal of school library books in violation of their First Amendment

 rights. Second, the First Amendment applies with more force in school libraries than

 in curricular activities because school libraries, unlike curricular activities, are not

 compulsory. Third, a substantial number of the Challenged Provisions’ applications

 are unconstitutional compared to the few, if any, applications that are constitutional.

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 At a minimum, a school library is a nonpublic forum, which requires that any First

 Amendment restrictions be reasonable in light of the purpose of school libraries. There

 are few, if any, constitutional applications of the Challenged Provisions because there

 are few, if any, books on school library shelves that are obscene as to minors. Rather,

 the Challenged Provisions prohibit a vast number of books without regard to the value

 of the book as a whole or the age of the reader, contrary to the Supreme Court’s

 decisions in Miller v. California, 413 U.S. 15 (1972), and Erznoznik v. City of Jacksonville,

 422 U.S. 205 (1975).

 I.     Plaintiffs Have Standing To Bring Their Claims.

        Plaintiffs have standing to bring their claims against Defendants. To establish

 standing, a plaintiff must demonstrate that (1) she suffered an “injury in fact” that (2)

 was likely caused by the defendant and that (3) could likely be redressed by judicial

 relief. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). The Authors Guild, an

 association, has standing because (1) its members would “otherwise have standing to

 sue in their own right,” (2) it seeks to protect interests that are “germane to the

 organization’s purpose,” and (3) its claims and the declaratory relief it seeks do not

 require the participation of its members. See Hunt v. Washington State Apple Advert.

 Comm’n, 432 U.S. 333, 343 (1977). Because they seek non-monetary relief, Plaintiffs

 need only demonstrate that one party has standing to pursue their claims. See Rumsfeld

 v. Forum for Acad. & Inst’l Rights., Inc., 547 U.S. 47, 52 n.2 (2006). Plaintiffs satisfy these

 requirements.



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         A.      Plaintiffs Are Suffering Injuries At The Hands Of Defendants.

         Plaintiffs are suffering First Amendment injuries at the hands of Defendants as

 a result of the Challenged Provisions because (1) the Student Plaintiffs intended to

 check out books from their school libraries that have been removed under those

 provisions in violation of the Student Plaintiffs’ First Amendment rights and (2) books

 published by the Publisher Plaintiffs or written by the Author Plaintiffs have been

 removed from Florida school libraries under the Challenged Provisions in violation of

 the Publisher Plaintiffs’ and Author Plaintiffs’ First Amendment rights.

         For First Amendment claims, the “injury requirement is most loosely applied”

 because of “the fear that free speech will be chilled even before the law, regulation, or

 policy is enforced.” Hallandale Pro. Fire Fighters Loc. 2238 v. City of Hallandale, 922 F.2d

 756, 760 (11th Cir. 1991). Every violation of First Amendment rights satisfies the

 injury requirement for standing. See Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The

 loss of First Amendment freedoms, for even minimal periods of time, unquestionably

 constitutes irreparable injury.”).

         The Student Plaintiffs have First Amendment rights that are violated by school

 library book removals.          The right to receive information is well-established in

 constitutional law, 11 and that right exists for students like the Student Plaintiffs in




 11
   See, e.g., Martin v. City of Struthers, Ohio, 319 U.S. 141, 143 (1943) (The authors of the First
 Amendment “chose to encourage a freedom which they believed essential if vigorous enlightenment
 would triumph over slothful ignorance,” which “embraces the right to distribute literature and
 necessarily protects the right to receive it.” (citation omitted)); Stanley v. Georgia, 394 U.S. 557, 564
 (1969) (“It is now well established that the Constitution protects the right to receive information and

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 school libraries. See, e.g., Campbell v. St. Tammany Parish Sch. Bd., 64 F.3d 184, 189–

 190 (5th Cir. 1995) (following Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v.

 Pico, 457 U.S. 853 (1982)); Minarcini v. Strongsville City Sch. Dist., 541 F.2d 577, 583

 (6th Cir. 1976) (recognizing the “right of students to receive information which they

 and their teachers desire them to know”). See also Kleindienst v. Mandel, 408 U.S. 753,

 763 (1972) (holding that the right to receive information is “nowhere more vital” than

 in “schools and universities”). Defendants “do not possess absolute authority over

 [Florida] students.” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 511, 513

 (1969) (holding that the First Amendment permits only “reasonable regulation of

 speech-connected activities in carefully restricted circumstances”). Students do not

 “shed their constitutional rights” at “the schoolhouse gate” and they “may not be

 regarded as closed-circuit recipients of only that which the State chooses to

 communicate.” Id. at 506, 511. 12 A state’s power to protect children from harm “does

 not include a free-floating power to restrict the ideas to which children may be

 exposed.” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 794 (2011).

         The Challenged Provisions have resulted in violations of the First Amendment

 rights of the Student Plaintiffs. Because of the Challenged Provisions, R.K. has been



 ideas.”) (collecting cases); Reno v. Am. C. L. Union, 521 U.S. 844, 874 (1997) (recognizing the
 “constitutional right to receive” information).
 12
   See also Pratt v. Independent School District No. 831, Forest Lake, Minnesota, 670 F.2d 771, 776 (8th Cir.
 1982) (Federal courts that have “considered First Amendment challenges to the removal of books
 from school libraries” have “generally concluded that a cognizable First Amendment claim exists if
 the book was excluded to suppress an ideological or religious viewpoint with which the local
 authorities disagreed.”) (collecting cases).


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 unable to access in R.K.’s school library books that R.K. intended to, including Toni

 Morrison’s The Bluest Eye and Janet Gurtler’s You Too? 25 Voices Share Their #MeToo

 Stories. (Ex. L, R.K. Decl., ¶ 4.) R.K. and R.K.’s classmates have also been unable to

 access in R.K.’s school library the books that Volusia has targeted for removal under

 the Challenged Provisions or to discuss them without risking stigma and judgment

 from their teachers and fellow students. (Id. ¶¶ 8–9.) Because of the law’s prohibition

 on content that “describes sexual conduct,” J.H. has been unable to access in J.H.’s

 school library books that J.H. intended to, including Jack Kerouac’s On the Road and

 Erik Larson’s The Splendid and the Vile. (Ex. M, J.H. Decl., ¶ 5.) J.H. and J.H.’s

 classmates have also been unable to access in J.H.’s school library the books that

 Orange County has targeted for removal under this prohibition or to discuss them

 without risking stigma and judgment from their teachers and fellow students. (Id. ¶¶ 9–

 10.)

        Publishers like the Publisher Plaintiffs and authors like the Author Plaintiffs also

 have First Amendment rights in school libraries. The First Amendment “embraces

 the circulation of books as well as their publication.” Bantam Books, Inc. v. Sullivan,

 372 U.S. 58, 64 n.6 (1963). Publishers and authors have the right to speak through

 their books without the State censoring those books through impermissible content-

 based restrictions. See id. at 71 (rejecting as unconstitutional a content-based restriction

 on publishers’ right to distribute books). That right also exists in school libraries. See,

 e.g., Minarcini, 541 F.2d at 583 (holding that the removal of school library books was

 unconstitutional because “[f]reedom of speech presupposes a willing speaker [but]
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 where a speaker exists” the “protection afforded is to the communication, to its source

 and to its recipients both”).

        Section 1006.28 has resulted in violations of the First Amendment rights of the

 Publisher Plaintiffs and the Author Plaintiffs. Many books published by the Publisher

 Plaintiffs and written by the Author Plaintiffs have been removed or identified for

 removal from school libraries in Florida under the Challenged Provisions, including

 pursuant to the State Defendants’ objection form. (Ex. A, Dye Decl., ¶ 11; Ex. B,

 Karp Decl., ¶ 8.) The School District Defendants have also removed books published

 by the Publisher Plaintiffs and written by the Author Plaintiffs under the Challenged

 Provisions. (Ex. A, Dye Decl., ¶ 11; Ex. B, Karp Decl., ¶¶ 9, 10.)

        Section 1006.28 removed a key forum through which the Publisher Plaintiffs

 and the Author Plaintiffs reach young readers. School libraries are an important

 channel for publishers and authors to speak to students—the intended audiences for

 many of their books—through those books. (See, e.g., Ex. A, Dye Decl., ¶ 8; Ex. D,

 Rasenberger Decl., ¶ 7.) If students are not able to access in their school libraries the

 books that the Challenged Provisions mandate be removed, they will have to discover

 them elsewhere (or not at all), imposing a burden on access to the speech of publishers

 and authors like the Publisher Plaintiffs and the Author Plaintiffs. (Ex. A, Dye Decl.,¶

 8.) Particular books appeal to students at particular times in their lives, so the

 opportunity to speak to those students may be lost if the Publisher Plaintiffs’ or the

 Author Plaintiffs’ books have been removed from school libraries. (Id.) Censorship

 of library books not only reduces readership for the specific books being removed; it

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 also reduces readership of publishers’ and authors’ other works because a student who

 reads one of their books is more likely to then read another. (Id.)

        Further, by falsely labeling books that the Publisher Plaintiffs and Author

 Plaintiffs have made available to students as “pornography,” Florida has stigmatized

 those books. (Ex. E, Picoult Decl., ¶ 7.) This stigmatization “travels . . . beyond the

 school setting” and decreases the likelihood that students will read the Publisher

 Plaintiffs’ and the Author Plaintiffs’ books both in school and elsewhere in the future.

 (Ex. A, Dye Decl., ¶ 8; Ex. D, Rasenberger Decl., ¶ 7 .) Moreover, the stigma chills

 the creative process. (Ex. A, Dye Decl., ¶ 5; Ex. D, Rasenberger Decl., ¶ 8.) Authors

 who have been stigmatized by Section 1006.28 may—consciously or subconsciously—

 self-censor their future works to avoid those works being wrongly labelled as

 “pornography.” (Id.) That chill leads to “dimmer, less colorful dialogues in the

 marketplace of ideas.” (Ex. D, Rasenberger Decl., ¶ 8.)

        Those violations of Plaintiffs’ First Amendment rights are injuries-in-fact that

 have occurred and will continue to occur until and unless Section 1006.28’s

 prohibitions on school library books containing a description of “sexual conduct” or

 so-called “pornographic” content are declared unconstitutional.

        B.     Plaintiffs’ Injuries Are Traceable To And Redressable By The State
               Defendants.

        Plaintiffs’ injuries are fairly traceable to the State Defendants by virtue of their

 indispensable role in implementing and enforcing the Challenged Provisions. The

 State Defendants play an integral role, as explained above: parents and residents are


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 required to use the State Defendants’ objection form, without modification, if they

 want to object to any particular library books and cause district school boards to

 remove library books under the Challenged Provisions.                          See Fla. Stat. s.

 1006.28(2)(a)(2)(b)(I), (II); Fla. Admin. Code r. 6A-7.0714(3)(a)(2), (d). In addition,

 the State Defendants are ultimately responsible for “approv[ing] or reject[ing]” a

 special magistrate’s recommendation (following review of a school district’s decision)

 not to remove a library book based on an objection. Fla. Stat. s. 1006.28(2)(a)(6).

        To satisfy the traceability requirement, plaintiffs need only show that their

 injuries are “connected with the conduct of which they complain.” Wilding v. DNC

 Servs. Corp., 941 F.3d 1116, 1125 (11th Cir. 2019) (brackets omitted). This requirement

 is “less stringent” than proximate cause. Cordoba v. DIRECTV, LLC, 942 F.3d 1259,

 1271 (11th Cir. 2019). Even injuries that are indirect can satisfy traceability. Wilding,

 941 F.3d at 1125.

        The State Defendants’ role in implementing and enforcing the Challenged

 Provisions satisfies the traceability requirement. It is the State Defendants’ objection

 form that imposes the Challenged Provisions on school districts and unconstitutionally

 eliminates school librarians’ and school districts’ discretion to evaluate the value of

 each book as a whole, resulting in the district school boards’ removal of books

 following an objection. 13 Moreover, the State Defendants have coercive authority to


 13
   As this Court found in denying the State Defendants’ motion to dismiss (ECF No. 106 at 7), as a
 result of their mandatory objection form, the State Defendants “are at the root of Plaintiffs’ alleged
 injury.”


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 ensure that school districts comply. See Fla. Stat. s. 1001.03(8), 1008.32(1). Plaintiffs

 need not show that the State Defendants’ actions “are the very last step in the chain of

 causation” to satisfy traceability, especially where the “determinative and coercive

 effect” of their objection form and of their ultimate responsibility to review removal

 decisions contribute to the actions of district school boards. See Bennett v. Spear, 520

 U.S. 154, 168–69 (1997).

        Because the State Defendants’ role in implementing and enforcing the

 Challenged Provisions is more than sufficient to satisfy traceability, Plaintiffs have also

 adequately demonstrated redressability. See Support Working Animals, Inc. v. Governor

 of Fla., 8 F.4th 1198, 1202 (11th Cir. 2021) (noting that traceability and redressability

 “often travel together”).     The State Defendants’ mandatory objection form is

 “connected with” the book removals that have injured Plaintiffs. See Wilding, 941 F.3d

 at 1125. A declaratory judgment against the State Defendants that the Challenged

 Provisions violate the First Amendment would cause them to omit the Challenged

 Provisions from their objection form, and district school boards would be required to

 use a new objection form. That new form would not include the current form’s

 unconstitutional categories of books that must be removed and would not limit school

 districts’ ability to evaluate each book’s value as a whole with respect to challenged

 titles, as the current form does.

        C.     Plaintiffs’ Injuries Are Traceable To And Redressable By The School
               District Defendants.

        Plaintiffs’ injuries are also traceable to and redressable by the School District


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 Defendants. 14 The School District Defendants injured Plaintiffs by removing books in

 violation of their First Amendment rights as demonstrated above.                            Those book

 removals are First Amendment injuries that are traceable to the School District

 Defendants in their capacities as agents of the State under Section 1006.28. See Wood

 v. Fla. Dept. of Educ., 729 F. Supp. 3d 1255, 1269 (N.D. Fla. 2024) (citing Support

 Working Animals, Inc., 8 F.4th at 1201 and granting preliminary injunction on teacher’s

 First Amendment claim against district school board and others because “[e]ven if the

 impetus for the [district school board’s] actions comes from state law, its compliance

 still qualifies as enforcing state law,” therefore the plaintiff’s “chilled speech injury is

 fairly traceable to the [district school board’s] actions”). See also Echols v. Parker, 909

 F.2d 795, 801 (5th Cir. 1990) (“[W]hen a state statute directs the actions of an official,

 as here, the officer, be he state or local, is acting as a state official.”); Pusey v. City of

 Youngstown, 11 F.3d 652, 657 (6th Cir. 1993) (similar).

         Plaintiffs’ injuries are traceable to the School District Defendants. Under

 Section 1006.28, the School District Defendants are “responsible for the content” of

 materials “made available in a school or classroom library,” including by removing

 school library books that contain content that “describes sexual conduct” or is

 “pornographic.” See Fla. Stat. s. 1006.28(2)(a)(1), (2)(a)(2)(b)(I), (II). Districts are

 required under the law to use the objection form that the State Defendants prescribed


 14
   As this Court found in denying the State Defendants’ motion to dismiss (ECF No. 106 at 8),
 “Plaintiffs’ alleged injury is both fairly traceable to the challenged action and redressable by a favorable
 ruling.”


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 and have no discretion to alter that form. See Fla. Admin Code r. 6A-7.0714(3)(a)

 (“School districts must use the template incorporated in this rule for objections to the

 school board for the following types of materials: . . . library books”), r. 6A-

 7.0714(3)(c), (d) (“The text of Part II of the template [containing the categories of

 prohibited content] must not be modified by school districts[.]”). Florida law and the

 Florida Constitution require school districts to follow state law, including by

 implementing and enforcing that law where required by statute, as is the case with

 Section 1006.28. See, e.g., Sch. Bd. of Collier Cnty. v. Fla. Dep’t of Educ., 279 So. 3d 281,

 286–87 (Fla. 1st D.C.A. 2019) (explaining that the Florida Constitution “creates a

 hierarchy under which a school board has local control, but the State Board supervises

 the system as a whole”).

        Because Plaintiffs have suffered First Amendment injuries that are traceable to

 the School District Defendants, Plaintiffs have also satisfied the redressability

 requirement. A declaratory judgment against the School District Defendants that the

 Challenged Provisions violate the First Amendment would require them to return

 books that they had previously removed from school library shelves under those

 unconstitutional provisions, thereby remedying the harms suffered by Plaintiffs. It

 would also require the School District Defendants to refrain from removing books

 under the Challenged Provisions going forward, preventing future First Amendment

 injury to Plaintiffs and others at the hands of the School District Defendants.

 II.    The First Amendment Applies In School Libraries.

        Every court to consider this issue agrees: the First Amendment right to freedom

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 of speech exists in public libraries, including public school libraries. 15 Moreover, the

 First Amendment applies with more force in school libraries than it does in the

 compulsory curricular environment. Those First Amendment rights are not displaced

 by the government-speech doctrine, because under the Supreme Court’s test for

 government speech, that doctrine does not apply to school library books.

         A.      School Libraries Are Not Compulsory.

         While the State has substantial discretion in certain compulsory functions of

 public schools, school libraries are different. School libraries are places of voluntary

 learning in which student participation is self-driven and optional. In contrast, other

 aspects of the educational experience such as curriculum and instruction are

 compulsory and require participation. See, e.g., Virgil v. Sch. Bd. of Columbia Cnty., Fla.,

 862 F.2d 1517, 1522–25 (11th Cir. 1989) (distinguishing between removal of curricular

 and school library books).

         School libraries serve an important purpose.                  As the Supreme Court has

 recognized, a school library is a place where students “can literally explore the


 15
   See, e.g., GLBT Youth in Iowa Schools Task Force v. Reynolds, 114 F.4th 660, 667–68 (8th Cir. 2024)
 (affirming rejection of the government-speech doctrine); Campbell v. St. Tammany Parish Sch. Bd., 64
 F.3d 184, 188–190 (5th Cir. 1995); Minarcini v. Strongsville City Sch. Dist., 541 F.2d 577, 582–83 (6th
 Cir. 1976); PEN American Center, Inc. v. Escambia County School Board, 711 F. Supp. 3d 1325, 1331 (N.D.
 Fla. 2024); Little v. Llano Cnty., 103 F.4th 1140, 1151–52 (5th Cir.), reh’g granted en banc, 106 F.4th 426
 (5th Cir. 2024); Fayetteville Public Library v. Crawford County, Arkansas, 684 F. Supp. 3d 879, 909–910
 (W.D. Ark. 2023); Counts v. Cedarville Sch. Dist., 295 F. Supp. 2d 996, 1004 (W.D. Ark. 2003); Sund v.
 City of Wichita Falls, Tex., 121 F. Supp. 2d 530, 547–48 (N.D. Tex. 2000); Case v. Unified Sch. Dist. No.
 233, 908 F. Supp. 864, 874–76 (D. Kan. 1995); Sheck v. Baileyville Sch. Comm., 530 F. Supp. 679, 686–
 89 (D. Me. 1982); Salvail v. Nashua Bd. of Ed., 469 F. Supp. 1269, 1272–73 (D.N.H. 1979); Right To
 Read Def. Comm. of Chelsea v. Sch. Comm. of City of Chelsea, 454 F. Supp. 703, 710–11 (D. Mass. 1978);
 Order On Motion For Preliminary Injunction at 14, Adams v. Matanuska-Susitna Borough School Dist.,
 No. 3:23-cv-00265-SLG (D. Alaska Aug. 6, 2024).


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 unknown, and discover areas of interest and thought not covered by the prescribed

 curriculum.” Pico, 457 U.S. at 868–69 (1982) (plurality) (explaining that “students

 must always remain free to inquire” and the “school library is the principal locus of

 such freedom”). A school library is meant to be a “regime of voluntary inquiry,”

 affording students “an opportunity at self-education and individual enrichment that is

 wholly optional.” Id. at 869. Libraries “pursue the worthy missions of facilitating

 learning and cultural enrichment” and are necessary for a “well-functioning

 democracy.” Fayetteville, 684 F. Supp. 3d at 889, 891 (quoting United States v. Am.

 Library Ass’n, Inc., 539 U.S. 194, 203 (2003) (“ALA”)).

        The discretion afforded to librarians in overseeing their library collections is

 crucial to well-functioning libraries.   Librarians are tasked with “curat[ing] the

 collections of public libraries to serve diverse viewpoints” and must be “commit[ted]

 to freedom of speech.” Id. That task requires librarians to have “broad discretion to

 decide what material to provide to their patrons,” and librarians are “afforded

 significant professional responsibility and deference with respect to their area of

 expertise.” Id. at 890–91. Authors, publishers, students, and parents rely on trained

 librarians to facilitate voluntary book discovery through individualized consideration

 of a student’s maturity, reading level, interests, and life experiences. The Challenged

 Provisions replace librarians’ discretion with the dictates of the State and disregard

 community standards and the value of each book as a whole. (See ECF No. 106 at 23–

 24 (noting that in this case the Court is faced with “a regime built around not a

 librarian’s sound judgment but rather any parent’s objection, however capricious”).)

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        School libraries are not compulsory educational environments, and the removal

 of a book from a school library is not a curricular decision. Because students are

 voluntary participants in school libraries, they are not compelled to read any particular

 book or any book at all, including the books that the Challenged Provisions now

 mandate be removed from every school library. The State’s mandate to remove books

 from school libraries “must withstand greater scrutiny within the context of the First

 Amendment than would a decision involving a curricular matter.” See, e.g., Virgil, 862

 F.2d at 1522–25; Campbell, 64 F.3d at 189 (citing Pico, 457 U.S. at 868–870). The

 Supreme Court has recognized this distinction between voluntary aspects of a school

 environment and the compulsory curricular environment. See Pico, 457 U.S. at 868–

 870 (contrasting the “compulsory environment of the classroom” to “the school library

 and the regime of voluntary inquiry that there holds sway”); Hazelwood School Dist. v.

 Kuhlmeier, 484 U.S. 260, 269 (1988) (concerning a school newspaper that was part of

 the school’s “curriculum” and over which “school officials retained ultimate control”).

        B.     The State Of Florida Does Not Speak Through School Library Books.

        Library books are not government speech because (1) school libraries have

 historically not communicated messages from the State, (2) the public does not identify

 library books as messages endorsed by the State, and (3) the State does not control the

 contents of library books.

        As the Supreme Court has recognized, because the government-speech doctrine

 is a “doctrine that is susceptible to dangerous misuse,” courts “must exercise great

 caution” when considering whether to “extend[] government-speech precedents.”

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 Matal v. Tam, 582 U.S. 218, 235 (2017) (Alito, J.). The doctrine is a limited exception

 to the First Amendment: when the government-speech doctrine applies, the Free

 Speech Clause does not apply. The Supreme Court has instructed that, to determine

 whether the government-speech doctrine applies, courts must consider whether (1) the

 State has historically “communicated messages” through the medium; (2) the medium

 is “closely identified in the public mind” with the State such that it “has endorsed that

 message,” and (3) the State directly controls “the messages conveyed” through that

 medium. See Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 209–

 213 (2015); Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 472–73 (2009); Matal,

 582 U.S. at 238 (assessing whether trademarks are government speech by applying the

 “three factors [Walker] distilled from Summum”). 16

         The State’s regulation of school library books does not satisfy any of the three

 factors. First, school libraries have not historically communicated messages from the

 State. Instead, school libraries have long served as vehicles to expose students to a

 broad array of ideas from authors who express unique, personal points of view. (Dye

 Decl., Ex. A, ¶ 8.) The State Defendants admit that school librarians—not the State—

 have historically decided which library books to make available to the students in their


 16
   The statements in Gittens and in the concurrence in Gates about library books are dicta because
 neither case involves library books. People for the Ethical Treatment of Animals, Inc. v. Gittens, 414 F.3d
 23, 25 (D.C. Cir. 2005) (concerning a government program “to showcase . . . sculptures of 100 donkeys
 and 100 elephants”); Bryant v. Gates, 532 F.3d 888, 898, 891 (D.C. Cir. 2008) (concerning
 advertisements in a Department of Defense publication whose “sole purpose” was “to facilitate
 accomplishment of the command or installation mission”). Moreover, both cases predate the three-
 part test for government speech the Supreme Court applied in Summum and reaffirmed in Walker and
 therefore do not apply that test.


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 local schools. (ECF No. 83 at 18.) It would make no sense for a library book, written

 by an independent author and selected for library shelves by a local librarian, to be

 understood as communicating a message from the State of Florida.

        Second, messages conveyed in school library books are diverse and

 contradictory—not endorsed by the State, as government speech must be. As Justice

 Alito explained in rejecting the application of the government-speech doctrine to

 trademarks, the doctrine does not extend to speech that expresses “contradictory

 views.” See Matal, 582 U.S. at 236, 238 (also explaining that Walker, concerning

 “Texas specialty license plates,” “likely marks the outer bounds of the government-

 speech doctrine”); Shurtleff v. City of Boston, Massachusetts, 596 U.S. 243, 272–73 (2022)

 (Alito, J., concurring) (explaining that “flags flown [from a city flagpole] reflected a

 dizzying and contradictory array of perspectives that cannot be understood to express

 the message” of the government). The result would be the same if the government-

 speech doctrine were applied to school libraries. As the Eighth Circuit has stated, a

 “well-appointed school library could include copies of Plato’s The Republic,

 Machiavelli’s The Prince, Thomas Hobbes’ Leviathan, Karl Marx and Freidrich

 Engels’ Das Kapital, Adolph Hitler’s Mein Kampf, and Alexis de Tocqueville’s

 Democracy in America. . . . [I]f placing these books on the shelf of public school libraries

 constitutes government speech, the State ‘is babbling prodigiously and incoherently.’”

 GLBT Youth in Iowa Schools Task Force v. Reynolds, 114 F.4th 660, 668 (8th Cir. 2024)

 (quoting Matal, 582 U.S. at 236).

        Third, the State does not “maintain[] direct control over the messages

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 conveyed” in school library books. See Walker, 576 U.S. at 213. Rather, authors and

 publishers control the contents of their books. The State Defendants concede this

 point. (ECF No. 83 at 23 n. 6 (“Florida has not, for instance, conditioned a book’s

 presence in a public-school library on the author’s or publisher’s willingness to alter

 the contents of the book in all its circulations.”).) The State of Florida does not “dream

 up” the books or “edit [books] submitted for” inclusion in school libraries. See Matal,

 582 U.S. at 235. See also Shurtleff, 596 U.S. at 256 (explaining that the “most salient

 feature” of the case was the defendant’s failure to “control[] the flags’ content and

 meaning” (emphasis added)); Walker, 576 U.S. at 213 (explaining that vanity license

 plates are government speech because Texas’s control over the plates extended to “the

 design, typeface, color, and alphanumeric pattern for all license plates”). Unlike in

 Summum, in which the government exercised “editorial control” over the selection of

 the monuments at issue, 555 U.S. at 472, here, the State of Florida does not select

 books for inclusion on school library shelves—local school librarians and their schools

 do. No court has found that school library collections constitute government speech

 because there is no plausible argument that school library collections deliver “a [State]-

 controlled message.” See id. at 468.

        Library books are fundamentally different than the limited media that constitute

 government speech. Application of the government-speech doctrine to school library

 books makes no sense and would drastically expand the reach of this doctrine.

 III.   The Challenged Provisions Are Unconstitutionally Overbroad.

        The Challenged Provisions of Section 1006.28 are unconstitutionally

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 overbroad. Those prohibitions bar minors from accessing books that contain any

 content that “describes sexual conduct” or any so-called “pornographic” content

 without regard for the value of the books as a whole—even where those books are not

 remotely obscene under the Supreme Court’s obscenity standard. See Fla. Stat. s.

 1006.28(2)(a)(2)(b)(I), (II). Section 1006.28’s prohibition on “pornographic” content

 also makes no attempt to differentiate, as it constitutionally must, between books that

 may be obscene as to all minors versus books that may be obscene only for younger

 minors.

        The First Amendment prohibits laws that abridge the freedom of speech. U.S.

 Const. amend. I. Laws that restrict speech based on its content are disfavored. See,

 e.g., Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015). In addition, the First

 Amendment limits government restrictions on speech in public schools to “reasonable

 regulation of speech-connected activities in carefully restricted circumstances.” Tinker,

 393 U.S. at 511, 513 (explaining that speech restrictions must be “necessary to avoid

 material and substantial interference with schoolwork or discipline”).          See also

 Minarcini, 541 F.2d at 582 (“The removal of books from a school library is a much

 more serious burden upon freedom of classroom discussion than the action found

 unconstitutional in [Tinker].”).

        A statute that burdens otherwise-protected speech is invalid as overbroad if a

 “substantial number of [the law’s] applications are unconstitutional, judged in relation

 to the statute’s plainly legitimate sweep.” NetChoice, 144 S. Ct. at 2397 (citing Bonta,

 594 U.S. at 615 (finding provision facially unconstitutional)).        In assessing an

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 overbreadth claim, a court “must [1] evaluate the full scope of the law’s coverage[,] [2]

 decide which of the law’s applications are constitutionally permissible and which are

 not, and [3] finally weigh the one against the other.” Id. at 2409. 17

         The Supreme Court has held that facial overbreadth challenges are particularly

 appropriate and important where, as here, the “pertinent facts . . . are the same across

 the board.” Bonta, 594 U.S. at 618. Facial challenges are an important tool to protect

 First Amendment rights when a law restricts and chills a substantial amount of

 protected speech. 18 The Challenged Provisions, which in every situation require the

 removal of books with no consideration of the book’s value as a whole (as is

 constitutionally required), are the epitome of statutory provisions for which a facial

 challenge is appropriate. Plaintiffs are likely to succeed on the merits of their First

 Amendment overbreadth claim because the unconstitutional applications of those

 prohibitions vastly outweigh any constitutional applications.



 17
   The Eleventh Circuit regularly invalidates unconstitutional laws on First Amendment overbreadth
 grounds. See, e.g., Dimmitt v. City of Clearwater, 985 F.2d 1565 (11th Cir. 1993) (affirming grant of
 summary judgment on plaintiffs’ claims that city ordinance was an unconstitutionally overbroad
 restriction of protected speech); Solomon v. City of Gainesville, 763 F.2d 1212, 1214 (11th Cir. 1985) (per
 curiam) (reversing grant of defendants’ summary judgment motion and holding that ordinance
 restricting any graphic or sign of an “obscene, indecent or immoral nature” was unconstitutionally
 overbroad); Moms for Liberty – Brevard County, FL v. Brevard Public Schools, 118 F.4th 1324, 1335 (11th
 Cir. 2024) (reversing grant of summary judgment for defendants and holding that a school district’s
 ban on “abusive” speech was unconstitutionally overbroad).
 18
   See, e.g., Ashcroft v. Free Speech Coal., 535 U.S. 234, 244 (2002) (“The Constitution gives significant
 protection from overbroad laws that chill speech within the First Amendment’s vast and privileged
 sphere.”); Virginia v. Hicks, 539 U.S. 113, 119 (2003) (explaining that facial challenges are important
 because “[m]any persons, rather than undertake the considerable burden (and sometimes risk) of
 vindicating their rights through case-by-case litigation, will choose simply to abstain from protected
 speech[,] harming not only themselves but society as a whole, which is deprived of an uninhibited
 marketplace of ideas”).


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        A.      The Challenged Provisions’ Scope Is School Library Books.

        Section 1006.28 requires the removal of school library materials that contain

 any content that “describes sexual conduct” or is purportedly “pornographic.” Fla.

 Stat. s. 1006.28(2)(a)(2)(b)(I), (II). Plaintiffs do not challenge the portion of the statute

 concerning visual depictions of sexual conduct. Id. s. 1006.28(2)(a)(2)(b)(II). The scope

 of the challenged portions of Section 1006.28, therefore, is materials in Florida school

 libraries that contain a description of sexual conduct or so-called “pornographic”

 content. Those materials primarily consist of books, but may also include magazines,

 newspapers, and audiobooks. 19 (Ex. C, Hackey Decl., ¶ 15.)

        These are books—both fiction and nonfiction—that were specifically selected

 for school library shelves by trained professionals who regularly consider educational

 appropriateness, community standards, and literary value in making library curation

 decisions. (See, e.g., id. ¶ 27.) The restrictions imposed by the Challenged Provisions

 reach award-winning and other educationally valuable books, classics, books that have

 been on school library shelves for years, and even books that are commonly tested on

 Advanced Placement exams. Those provisions sweep far too broadly.

        B.      The Challenged           Provisions       Have      Limited      Constitutional
                Applications.

        The Challenged Provisions’ constitutional applications are few, if any, because

 those provisions mandate the content-based removal of library books without regard



 19
   References in this brief to “books” also include magazines, newspapers, and audiobooks. The same
 overbreadth analysis that applies to books also applies to magazines, newspapers, and audiobooks.


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 for the value of each book as a whole and without regard to the discretion of librarians

 and other trained professionals in Florida schools. No exigency of the educational

 environment justifies the Challenged Provisions, which are inconsistent with the

 purpose of school libraries.

         Courts agree that the government cannot require the content-based removal of

 library books to impose a “puritanical ‘pall of orthodoxy’” or to rid libraries of

 messages with which they disagree. See Pico, 457 U.S. at 877; Minarcini, 541 F.2d at

 580; Campbell, 64 F.3d at 188–89 (quoting Pico); Counts, 295 F. Supp. 2d at 1004–1005

 (quoting Pico); GLBT Youth in Iowa Schools Task Force v. Reynolds, 709 F. Supp. 3d 664,

 697 (S.D. Iowa 2023), reversed and remanded on other grounds, 114 F.4th 660 (8th Cir.

 2024). While the most recent Supreme Court decision concerning the removal of

 public-school library books—Board of Education v. Pico—was a plurality decision, it

 provides useful guidance regarding the First Amendment implications of removing

 school library books, which other courts have relied upon. Even the dissenting justices

 in Pico agreed that the government does not have unlimited authority to remove school

 library books without running afoul of the First Amendment. 20 Pico also involved a


 20
   The plurality opinion expressly states that “the First Amendment rights of students may be directly
 and sharply implicated by the removal of books from the shelves of a school library.” Pico, 457 U.S.
 at 866 (plurality opinion). Pico’s concurrences and dissents articulate that limit in different ways and
 to different extents. Id. at 879–880 (Blackmon, J. concurring) (“[S]chool officials may not remove
 books for the purpose of restricting access to the political ideas or social perspectives discussed in them,
 when that action is motivated simply by the officials’ disapproval of the ideas involved” (emphasis in
 original).); 907 (Rehnquist, J., Burger, C.J., Powell, J. dissenting) (recognizing that “significant
 discretion to determine the content” of “school libraries” may not be “exercised in a narrowly partisan
 or political manner” or “motivated by racial animus”; the Constitution “does not permit the official
 suppression of ideas” (emphasis in original)).


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 much less extreme situation than that presented by the Challenged Provisions here—

 there, the Court considered whether a local school board’s decision to remove nine

 books from a school library violated the First Amendment rights of students. Id. at

 858. In contrast, the Challenged Provisions are a statewide mandate from the State to

 school districts and their educators that resulted in the removal of hundreds of books.

 (See, e.g., Exs. B-1 through B-32, B-36.) The Challenged Provisions eliminate the

 discretion that Florida school districts and educators have by requiring the removal of

 books that schools and educators had selected for library shelves.

        When the government restricts speech on government property, courts assess

 those restrictions based on the nature of the forum and the type of speech that is

 restricted. See, e.g., Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800

 (1985). At a minimum, a school library is a nonpublic forum. The standards that

 courts apply to assess statutes requiring the removal of library books are consistent

 with the standard used to assess speech restrictions in nonpublic forums. Within

 nonpublic forums, content-based restrictions must be (1) reasonable in light of the

 purpose of the forum and (2) viewpoint-neutral. Cornelius, 473 U.S. at 806. Accord

 Minnesota Voters All. v. Mansky, 585 U.S. 1, 12, 16 (2018) (holding that the state must

 “articulate some sensible basis for distinguishing what [speech is allowed] from what

 [speech is not allowed]” inside a polling place). Therefore, an application of the

 Challenged Provisions is constitutional only if it is reasonable in light of the purpose

 of a school library. See also Counts, 295 F. Supp. 2d at 1002 (requiring the State to show

 that book-removal decisions were “justified by some exigency”).

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        The purpose of school libraries is inconsistent with the broad content-based

 restrictions imposed by the Challenged Provisions that do not account for the value of

 the book as a whole. Libraries are places of voluntary inquiry that provide students

 with the opportunity for exploration, discovery, and growth. See Pico, 457 U.S. at 868–

 889. Libraries provide students with access to “areas of interest and thought not

 covered by the prescribed curriculum.” Id. Critical to the success of libraries is the

 lack of “any kind of authoritative selection” of ideas by the State. See Keyishian v. Bd.

 of Regents of Univ. of State of N.Y., 385 U.S. 589, 603–04 (1967); ALA, 539 U.S. at 204

 (“To fulfill their traditional missions, public libraries must have broad discretion[.]”).

        In light of these purposes, the reasonable and therefore constitutional

 applications of the Challenged Provisions are minimal. Because the Challenged

 Provisions are a statewide mandate with the purported purpose of keeping sexually

 explicit content out of school libraries, their reasonableness must be evaluated using

 the Supreme Court’s standard that governs speech concerning sexual content—the

 obscenity standard. The Supreme Court has defined obscenity as “limited to works”

 that (a) “taken as a whole, appeal to the prurient interest in sex”; (b) “portray sexual

 conduct in a patently offensive way”; and (c) “taken as a whole, do not have serious

 literary, artistic, political, or scientific value.” See Miller, 413 U.S. at 24. The first and

 second parts of the Miller obscenity test are to be determined “applying contemporary

 community standards.” Pope v. Illinois, 481 U.S. 497, 500 (1987). When applied to

 minors, the Miller obscenity standard accounts for the age of the reader. See Erznoznik,

 422 U.S. at 213–14.

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         The Miller obscenity standard as applied to minors is not novel in Florida school

 libraries. Section 1006.28 has long prohibited Florida school libraries from containing

 content that is “harmful to minors,” which Florida law defines as consistent with the

 Miller obscenity standard. 21 Simmons, 944 So.2d at 325 (“[T]he term ‘harmful to

 minors’ is adequately defined by reference to the three-prong Miller standard, albeit

 modified to apply to minors.”).

         The constitutional applications of the Challenged Provisions are therefore any

 school library books that are obscene under the Miller standard accounting for the age

 of the minor. Because obscene materials have long been prohibited in Florida school

 libraries under the statutory prohibition on content that is “harmful to minors,” that

 population is necessarily extremely limited. Moreover, library collections are curated

 by trained professional librarians who take into account community standards. (See,

 e.g., Ex. C, Hackey Decl., ¶¶ 27–28.) As a result, it would be the rare exception that a

 school library would contain a book that would be obscene. (Id. ¶ 27 (explaining that

 educators’ “professional training requires [that] books that are appropriate and

 valuable for high school students but that may be too mature for elementary school

 students not be made available to elementary school students”).) Therefore, the



 21
    Compare Fla. Stat. s. 847.001(7) (defining “harmful to minors” as “any reproduction, imitation,
 characterization, description, exhibition, presentation, or representation, of whatever kind or form,
 depicting nudity, sexual conduct, or sexual excitement when it: (a) Predominantly appeals to a
 prurient, shameful, or morbid interest; (b) Is patently offensive to prevailing standards in the adult
 community as a whole with respect to what is suitable material or conduct for minors; and (c) Taken
 as a whole, is without serious literary, artistic, political, or scientific value for minors”) with Miller, 413
 U.S. at 24.


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 constitutional applications of the Challenged Provisions are few, if any.

        C.     The Challenged Provisions’ Unconstitutional Applications Vastly
               Outweigh Their Constitutional Applications.

        In contrast, the unconstitutional applications of the Challenged Provisions are

 vast and substantially outweigh any potential constitutional applications.           The

 Challenged Provisions prohibit school librarians from considering the literary,

 political, or scientific value of each book when taken as a whole, resulting in a blanket

 prohibition that ignores school district and educator discretion and differing

 community standards.       In addition, Section 1006.28’s prohibition on so-called

 “pornographic” content, as interpreted and implemented by the State, fails to

 differentiate based on the age of the potential minor reader, as it constitutionally must.

        While the State has a legitimate interest in prohibiting students from accessing

 books that are obscene for minors in school libraries, a book is not obscene merely

 because it describes sexual content or includes so-called “pornographic” content. As

 Justice Scalia explained, the Supreme Court has “rejected the approach previously

 adopted by some courts, which would permit the banning of an entire literary work on

 the basis of one or several passages that in isolation could be considered obscene.”

 FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 250 (1990) (Scalia, J., concurring)

 (explaining that “the standards for judging obscenity safeguard the protection of

 freedom of speech and press for material which does not treat sex in a manner

 appealing to prurient interest” (quoting Roth v. United States, 354 U.S. 476, 488

 (1957))). Moreover, the State cannot suppress “[s]peech that is neither obscene as to


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 youths nor subject to some other legitimate proscription” solely “to protect the young

 from ideas or images that a legislative body thinks unsuitable for them.” Erznoznik,

 422 U.S. at 213–14 (striking ordinance as overbroad).           For these reasons, the

 Challenged Provisions are unconstitutional.

               1.    The Prohibition On Content That “Describes Sexual Conduct.”

        Section 1006.28’s prohibition on content that “describes sexual conduct”

 prohibits school library books with any description of any sexual conduct as defined by

 statute. Long before July 2023—the effective date of the prohibition on content that

 “describes sexual conduct”—the statute forbade material containing “sexual conduct”

 that was “harmful to minors.”        Fla. Stat. s. 1006.28(2)(a)(2)(b)(I).    That prior

 proscription required a finding that the book, “[t]aken as a whole, is without serious

 literary, artistic, political, or scientific value for minors” as required by the First

 Amendment under Miller. Fla. Stat. s. 847.001(7), 847.012. In stark contrast, the new

 proscription forbids any content that “describes sexual conduct” with total disregard

 for the value of the book taken as a whole.

        The fact that the statute permits schools to retain library books with content that

 “describes sexual conduct” so long as they are appropriate or suitable does not save it.

 First, those criteria are not substitutes for the requirements of the Supreme Court’s

 obscenity test, because they bear no relation to Miller’s requirement that each book be

 considered holistically.   Second, the terms “inappropriate” and “unsuitable” are

 ambiguous and undefined in the statute, providing no guidance to schools as to what

 the State of Florida might deem sufficient to overcome an otherwise-blanket

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 prohibition on content that “describes sexual content.” The vagueness of the statutory

 language combined with the harsh penalties imposed on educators for failure to

 comply—including loss of licensure and monetary fines, see Fla. Stat. s.

 1012.796(1)(a)–(f)—renders illusory schools’ discretion to retain appropriate and

 suitable material that describes sexual content. The statute encourages the broad

 removal of any library book containing any description of sexual conduct for all ages

 and then—under threat of penalty—dares school districts to find that a description of

 sexual conduct is sufficiently appropriate or suitable to retain that library book. All

 the while, the State Defendants provide no guidance or assurance to schools that

 Florida will defer to the school district’s decision to retain a book or refrain from

 penalizing that district or its educators. And all the while, books remain off of school

 library shelves. 22

                 2.      The Prohibition On So-Called “Pornographic” Content.

         Section 1006.28’s prohibition on so-called “pornographic” content in school

 library books, as interpreted and implemented by Defendants, similarly bears no

 relation to the Supreme Court’s obscenity test. Nor does it account for the age of the

 minor reader, as the First Amendment requires.

 22
    The statute requires school districts to remove books from library shelves “within 5 school days after
 receipt of an objection” on the basis of content that describes sexual conduct or so-called
 “pornographic” content and to ensure that the book in question “remain[s] unavailable to students of
 that school until the objection is resolved.” See Fla. Stat. s. 1006.28(2)(a)(2). The statute does not
 provide a time period during which school districts must resolve the objection. Even for those books
 that are eventually returned to library shelves, their removal for an indefinite and extended period of
 time violates the First Amendment rights of Plaintiffs and others. See Elrod, 427 U.S. at 373 (“The
 loss of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes
 irreparable injury.”).


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        Section 1006.28 prohibits school library books that contain content that “[i]s

 pornographic or prohibited under s. 847.012.” Section 847.012 prohibits content that

 is “harmful to minors,” which is defined in conformance with the Supreme Court’s

 obscenity standard for minors under Miller. Fla. Stat. s. 847.012, 847.001(7). Florida

 law does not define the term “pornographic,” but the State Defendants have construed

 the term “pornographic” as distinct from the Miller obscenity standard. The State

 Defendants’    mandatory     objection   form     includes   separate   categories   for

 “pornographic” content and content that is “harmful to minors,” meaning that a book

 could contain content that is considered “pornographic” under the statute but that is

 not “harmful to minors,” i.e., obscene.        (See Ex. N; Fla. Admin. Code r. 6A-

 7.0714(3)(e).) Because the State Defendants require all Florida school districts to

 adopt their objection form with no substantive modifications, they have imposed this

 unconstitutional construction of the term “pornographic” on school districts.

        The prohibition on so-called “pornographic” content also makes no attempt to

 differentiate, as it constitutionally must, between books that may be obscene as to all

 minors versus books that may be obscene only for younger minors. In that way, the

 State treats high school seniors the same as third graders and prohibits all students

 regardless of age, maturity, or reading level from accessing certain books in their

 school libraries. The First Amendment requires that books be considered in relation

 to the age and maturity of the students who may access them. See Erznoznik, 422 U.S.

 at 214 n.11 (“[T]he age of a minor is a significant factor.”). A book is not obscene as

 to all minors if it has serious value for a legitimate minority of minors, such as older

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 minors. See Virginia v. Am. Booksellers Ass’n, Inc., 488 U.S. 905 (1988); Am. Booksellers

 Ass’n, Inc. v. Virginia, 882 F.2d 125, 127–28 (4th Cir. 1989), cert. denied, 494 U.S. 1056

 (1990). 23 Nevertheless, the prohibition on so-called “pornographic” content applies to

 all school libraries and all students without differentiating based on the age of the

 prospective reader—even if the reader is an adult under Florida law—and therefore

 prevents older minors from accessing non-obscene school library books that contain

 any so-called “pornographic” content, in violation of the First Amendment.

                3.      The Substantial Unconstitutional                  Applications       Of     The
                        Challenged Provisions.

        The unconstitutional applications of the Challenged Provisions are many.

 Those provisions require the removal of numerous categories of non-obscene books,

 many of which have been in school libraries in Florida and throughout the nation for

 decades:

        • Historical classics (e.g., Native Son by Richard Wright; Slaughterhouse-Five by
          Kurt Vonnegut) (see Exs. B-13, B-31, B-36);

         • Modern award-winners or highly acclaimed books (e.g., Herzog by Saul
           Bellow; Beloved, Song of Solomon and The Bluest Eye by Toni Morrison; The
           Kite Runner by Khaled Hosseini; Nineteen Minutes by Jodi Picoult; Shout by
           Laurie Halse Anderson; Looking for Alaska by John Green; Last Night at the
           Telegraph Club by Malinda Lo) (see Exs. B-5, B-11, B-13, B-26, B-31, B-36);

         • Books on AP exams or that serve important educational purposes (e.g., The
           Color Purple by Alice Walker, Native Son by Richard Wright, The Handmaid's

 23
   See also Shipley Inc. v. Long, 454 F. Supp. 2d 819, 829–830 (E.D. Ark. 2004) (holding that the State
 cannot “effectively stifle[] the access” of “older minors to communications and material they are
 entitled to receive and view” just because such material may be “harmful to the youngest of the
 minors”); Fayetteville, 684 F. Supp. 3d at 904–905 (finding obscenity restriction on library books to be
 overbroad, even where the statutory language was consistent with Miller, because the restriction
 burdened older minor and adult access to books).


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               Tale by Margaret Atwood; Slaughterhouse-Five by Kurt Vonnegut, A
               Clockwork Orange by Anthony Burgess) (see Exs. B-5, B-11, B-13, B-31, B-36);

        • Non-fiction history books about important historical events (e.g., Kaffir Boy:
          The True Story of a Black Youth’s Coming of Age in Apartheid South Africa by
          Mark Mathabane, The Splendid and the Vile by Erik Larson, The Freedom
          Writers Diary: How a Teacher and 50 Teens Used Writing to Change Themselves
          and the World Around Them by Erin Gruwell) (see Exs. B-13, B-17, B-31, B-
          36);

        • Non-fiction books to help minors avoid being victimized by sexual assault
          (e.g., You Too? 25 Voices Share Their #MeToo Stories edited by Janet Gurtler)
          (see Ex. B-31);

        • Books that address bullying, racism, and sexual assault (e.g., The Bluest Eye
          and Song of Solomon by Toni Morrison; Last Night at the Telegraph Club by
          Malinda Lo; Looking for Alaska by John Green, Nineteen Minutes by Jodi
          Picoult, Homegoing by Yaa Gyasi, You Too? 25 Voices Share Their #MeToo
          Stories edited by Janet Gurtler) (see Exs. B-5, B-11, B-13, B-26, B-31);

        • Books that address trauma and grief (e.g., Shout by Laurie Halse Anderson,
          This is Where it Ends by Marieke Jijkamp, My Sister’s Keeper by Jodi Picoult)
          (see Exs. B-5, B-13);

        • Books that address injustice (e.g., Native Son by Richard Wright, The Freedom
          Writers Diary: How a Teacher and 50 Teens Used Writing to Change Themselves
          and the World Around Them by Erin Gruwell) (see Exs. B-13, B-17, B-31); and

        • Works of fiction geared toward the emotional and intellectual challenges of
          being a teenager or young adult (e.g., Looking for Alaska by John Green, The
          Hate U Give by Angie Thomas, How the García Girls Lost Their Accents by Julia
          Alvarez) (see Exs. B-5, B-13, B-31).

 The Challenged Provisions require the removal of books that contain only one

 sentence describing sexual conduct or containing so-called “pornographic” content—

 even if the content in question was an impetus for legislation concerning sexual assault;

 was historically significant, such as in an impeachment, presidential campaign, or

 international events; or was central to character development in an award-winning



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 work of fiction. The Challenged Provisions are indifferent to the educational and

 literary qualities in the hundreds of school library books that they require be removed.

        The breadth of the Challenged Provisions is even greater because they are

 vague. The prohibition on content that “describes sexual conduct” requires Florida

 educators to remove library books but does not explain what constitutes a description

 in relation to “sexual conduct” or what level of detail is necessary for that prohibition

 to apply. And the term “pornographic” has no meaning whatsoever under Florida

 law. If Florida educators fail to divine what the Challenged Provisions require, they

 risk substantial penalties—including, in the Governor’s view, being charged with a

 third-degree felony. See Fla. Stat. s. 1012.796(1)(a)–(f); Ex. A-7. In that way, the

 Challenged Provisions incentivize educators and school districts to err on the side of

 caution and to remove books liberally.

        The vagueness concern is real. It is unclear, for example, whether a book that

 contains the phrase “spent the night together” (or other phrases that might imply a

 sexual interaction) is descriptive enough to offend the Challenged Provisions. (See,

 e.g., Ex. C, Hackey Decl., ¶ 17.) Nor is it clear whether a book that states that two

 characters “made passionate love” or “had sexual intercourse” must be removed.

 Given the draconian penalties for noncompliance, however, those sorts of books are

 fairly implicated by the Challenged Provisions. (Id.)

        It is not necessary to hypothesize about the broad reach of the Challenged

 Provisions. Since H.B. 1069 went into effect in July 2023, Florida school districts have

 removed large numbers of books that are not remotely obscene from school library

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 shelves under the Challenged Provisions—books that fall within the categories

 mentioned above. (See, e.g., Exs. B-1 through B-32, B-36.) The books that Florida

 schools have actually removed or have identified for removal from school libraries

 under the Challenged Provisions exemplify and confirm their substantial

 unconstitutional applications.

        Those substantial unconstitutional applications vastly outweigh the few, if any,

 constitutional applications of the Challenged Provisions. There are only few, if any,

 books on school library shelves that are obscene for minors under the Miller test that

 therefore could be permissibly removed pursuant to the State’s mandate. In contrast,

 the Challenged Provisions reach far beyond obscenity to prohibit books with any

 description of “sexual conduct” and to prohibit books with any so-called

 “pornographic” content—whatever that means—for any age. Because any permissible

 applications of the Challenged Provisions are “dwarfed” by their “presumptively

 impermissible applications,” those provisions are “substantially overbroad, and

 therefore invalid” under the First Amendment. See U.S. v. Stevens, 559 U.S. 460, 481–

 82 (2010). The “pertinent facts in these cases are the same across the board”—the

 Challenged Provisions disregard the value of the book as a whole, in violation of the

 First Amendment. See Bonta, 594 U.S. at 618. For these reasons, the Challenged

 Provisions are unconstitutional.

 IV.    In The Alternative, Construing The Term “Pornographic” To Be Consistent
        With “Harmful To Minors” Would Save That Provision.

        Rather than finding the prohibition on so-called “pornographic” content to be


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 unconstitutionally overbroad, this Court could resolve Plaintiffs’ claims concerning

 that provision by construing the term “pornographic” to be consistent with “harmful

 to minors” as defined by Section 847.001(7). That construction would remedy any

 constitutional problem with the prohibition on “pornographic” content because it

 would clarify that the provision merely incorporates the existing Supreme Court

 obscenity standards as applied to minors.

        The Supreme Court has instructed that the “elementary rule is that every

 reasonable construction must be resorted to, in order to save a statute from

 unconstitutionality” and that the “corollary doctrine” is that a “statute must be

 construed, if fairly possible, so as to avoid not only the conclusion that it is

 unconstitutional but also grave doubts upon that score.” See Rust v. Sullivan, 500 U.S.

 173, 190–91 (1991) (emphasis, quotations, and citations omitted). To save a statute

 from unconstitutionality, courts acknowledge that legislatures frequently use a “belt-

 and-suspenders” approach to drafting legislation. See McCarthan v. Dir. Of Goodwill

 Indus.-Suncoast, Inc., 851 F.3d 1076, 1087–88 (11th Cir. 2017).        The “belt-and-

 suspenders” canon of statutory construction recognizes that the word “or” “commonly

 introduces a synonym or definitional equivalent.” Id. Therefore, where two statutory

 terms “share the same ordinary meaning” and are separated only by the word “or,”

 the “better reading of the text” recognizes that the definitions of the two terms

 “overlap.” Id. See also In re Wild, 994 F.3d 1244, 1268 n. 22 (11th Cir. 2021)

 (explaining that “[d]oublets and triplets abound in legalese, especially given that

 [legislatures] often use[] a ‘belt-and-suspenders’ approach when drafting statutes”

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 (internal quotations omitted)).

        The     ”belt-and-suspenders”   approach     best   explains   Section    1006.28’s

 prohibition on so-called “pornographic” content. The prohibition on “pornographic”

 content and the prohibition on content that is “harmful to minors” have long coexisted

 in the same numbered category of proscribed content in the statute. See Fla. Stat. s.

 1006.28(2)(a)(2)(b)(I). Those terms are separated in the statute by only the word “or,”

 indicating that “pornographic” and “prohibited under s. 847.012 [i.e., harmful to

 minors]” are “synonym[s] or definitional equivalent[s].” See McCarthan, 851 F.3d at

 1087–88.      Therefore, not only does the belt-and-suspenders compel a statutory

 construction that the term “pornographic” means the same thing as “harmful to

 minors” as defined by statute, but it is the “better reading of the text.” See id.

        Construing the term “pornographic” to mean “harmful to minors” as defined

 by Section 847.001(7) would resolve any constitutional issues with the prohibition on

 so-called “pornographic” content. The statutory definition of “harmful to minors”

 conforms to the Supreme Court’s obscenity standard for minors.                  Therefore,

 construing “pornographic” content as a statutory redundancy would save that

 provision—which otherwise is vague and overbroad—from unconstitutionality. If the

 Court applies this construction, the State Defendants’ objection form would have to

 be revised accordingly.

                                     CONCLUSION

        For the foregoing reasons, this Court should grant Plaintiffs’ Motion For

 Summary Judgment.

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 Dated: March 4, 2024                     By: /s/ David A. Karp
                                          David A. Karp
                                          Florida Bar No. 69226
                                          Carlton Fields P.A.
                                          2 MiamiCentral
                                          700 NW 1st Avenue, Suite 1200
                                          Miami, Florida 33136
                                          Telephone: (305) 539-7280
                                          dkarp@carltonfields.com


                                          Frederick J. Sperling
                                          Adam J. Diederich
                                          Kirstie Brenson
                                          ArentFox Schiff LLP
                                          233 South Wacker Drive, Suite 7100
                                          Chicago, Illinois 60606
                                          Telephone: (312) 258-5500
                                          frederick.sperling@afslaw.com
                                          adam.diederich@afslaw.com
                                          kirstie.brenson@afslaw.com
                                          (admitted pro hac vice)

                                          Attorneys for Plaintiffs




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